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 RE: Byron V Flores                                                                                            Case # 20-15320 LMI
       TRUSTEE’S NOTICE OF DEFICIENCY FOR CONFIRMATION AND RECOMMENDATION (Pre 341)
     The Trustee reviewed this case for the meeting of creditors and found the following deficiencies from the Trustee’s letter requesting
                            documents and thus objects as follows: Reviewed documents received prior to: 6/4/20
     Tax returns:                                       Corporate Tax Returns:
     PhotoLF
           ID/SS
              1 card           LF 90                       LF 67        LF 10
     Plan does not fund properly
    Calculation errors        Missing months/amounts           Inconsistent terms        Plan form completed incorrectly
    Attorney fee itemization or Fee Application needed (see court guideline 6)
      Missing 2016(B)                                           ✔ Missing completed and signed copy of the Written Quest. to Debtor(s)
     Other provisions:       IVL                    100%        Lawsuit  Gambling      MMM
     Reaffirm, redeem or surrender Sch D or G creditor:
     MMM Motion not filed        Valuation motion not filed                           Lien Avoidance motion not filed
     Priority debt on Schedule E not in plan:
  Creditor in Plan is not listed in Schedules or has not filed a POC:
✔ Creditor paid through the Plan has not filed a POC: IRS
✔ Object or Conform to Proof of Claim:        Miami-Dade County                 Tax Certificate (DE#       )      Dept of Revenue
          IRS             ✔ Acar #2 US Bank #4
✔    OTHER PLAN ISSUES: Creditor name & address does not match POC#4
      Creditor acct no. does not match POC#6
      Section IV-B. Combine IRS payments
      Section VIII. Box not check to reference "NONE"

     Real Estate FMV and Payoff:
  Non-Homestead Information Sheet:
✔ Vehicles FMV (NADA/Carmax), Reg and Payoff: 16 KIA FMV
  Other:
✔ Bank Account Statements              3 months pre-petition
     #9775 (5/1-5/14/20)

     Copy of check(s) and/or explanation:
  Explanation of withdrawal(s):
✔ 401K/Retirement/Pension                               Annuity                             Life Insurance Policy
  Domestic Support Obligation form complete with info: name, address and phone
✔ Wage deduction order or Motion to waive
  BDQ & attachments                    Profit/loss     Balance Sheet
    Business Bank statements and checks             3 months pre-petition



     Affidavit of support
    Trustee reserves the right to raise additional objects until all requested documents are timely provided. This deficiency is limited to
 missing documents only. The Trustee will file a Notice of Deficiency with additional document requested and legal issues raised after the
    341 - meeting of creditors. I hereby certify that a true and correct copy of the foregoing was served through ECF on the debtor’s
                  attorney or by U.S. First Class pre-paid Mail on the pro se debtor on the same day filed with the Court.
     Submitted by NANCY K. NEIDICH, ESQ, STANDING CHAPTER 13 TRUSTEE P.O. BOX 279806, MIRAMAR, FL 33027
    *DOCUMENTS MUST BE RECEIVED OR FILED AND ISSUES ADDRESSED AT LEAST FOURTEEN DAYS PRIOR TO EACH
                              CONFIRMATION HEARING TO AVOID DISMISSAL*
